 AO 91 (Rev . 11/1 1) Crn ninal Complaint


                                            UNITED ST ATES DISTRICT COURT
                                                                      for the
                                                     Eastern District of North Carolina

                    United States of America                             )
                                   V.                                   )
                                                                        )       Case No.   5:20-MJ-1575-JG
                   Charles Anthony PITTMAN                              )
                                                                        )
                                                                        )
                                                                        )
                             Defendanl(s)


                                                    CRIMINAL COMPLAINT

           I, the comp lainant in this case, state that the following is true to the best ofmy knowledge and belief.
On or about the date(s) of _                     May 30, 2020     _     _ _ in the county of                Cumberland        in the
        Eastern          District of          North Carolina       , the defendant(s) violated :

              Code Section                                                        Offense Description
Title 18 U.S.C. §§844 (f)(1), (f)(2)               Maliciously damaged by means of fire a building, which build ing is in part
and 2                                              owned and possessed by the City of Fayettevil le, an organization rece iving
                                                   Federal financial assistance , and such conduct created a substantial risk of
                                                   injury to other persons, and aiding and abetting .




          This criminal complaint is based on these facts :

See attached affidavit




          fi1 Continued on the attached sheet.

On this day,      ~ff-              >(lV ~
appeared before me via re l iable electronic means,
was placed und er oath, and attested to the contents                                          Jeff Silver, Special Agent
of thi s Complaint.                                                                                Printed name and ti/le




Date:              8tlfM1~1J~O


City and state :                             Raleigh, NC                              James E. Gates, U.S. Magistrate Judge
                                                                                                   Prillled name and lille




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                         UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

                                   Probable Cause Affidavit


  I, Jeff Silver, hereinafter designated as affiant, having been duly sworn according to law,
deposes and states that:

  1. Affiant is a Special Agent with the United States Department of Justice (DOJ), Bureau of
     A lcohol, Tobacco, Firearms and Explosives (ATF). Affiant has been so employed since
     December of2013 and is currently assigned to the Fayettevi lle, North Carolina Field Office
     within the Charlotte, North Carolina Field Division. Affiant graduated from the Special
     Agent Basic Training Academy (ATF National Academy) and the Federal Law
     Enforcement Training Center in July of 2014. Affiant has received extensive training at the
     A TF National Academy in the investigation of firearms , arson, and explosives offenses.
     Affiant is also a member of the ATF National Response Team (NRT), which responds to
     major fire and exp losive incidents nationwide, since June of 2017.

  2. Affiant's duties include, but are not limited to, enforcing the Federal firearms laws as well
     as other laws committed in violation of Federal Statutes. During Affiant' s employment with
     ATF, Affiant has conducted and assisted in numerous firearms, narcotics, and fire
     investigations. Prior to being hired with ATF, Affiant was an eighteen year veteran of the
     fire service in both career and vo lunteer leadership positions.

  3. As a result of Affiant's training and experience as an ATF Special Agent, Affiant is familiar
     with Federal criminal laws and has participated in the investigations of criminal violations
     of federal law, including, but not li mited to Title 18 United States Code Section 844.

  4. This affidav it is based on personal knowledge gained from participating in this
     investigation, interviews by the Affiant or other participating agents or officers during the
     investigation, and conclusions the Affiant has reached based off of training and experience
     in the investigation of offenses involving federal arson vio lations. Affiant is not including
     every fact of the investigation, but only the necessary information needed to obtain probable
     cause.

                             Facts in Support of Probable Cause

  5. On or about May 30, 2020, a protest took place in downtown Fayetteville, North Carolina.
     At approximately 7: 15 p.m ., the previously peaceful protest turned violent as multiple
     individuals, both known and unknown, set fire to a federal historic landmark known as the
     Market House. The Market House, located at One Market Square in Fayetteville, N .C.
     28301 , was built in I 832 and was entered into the National Register of Historic Places on




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                                                                                                      ,-di-
   September 15, 1970. The Market House is owned and operated by the City of Fayetteville,
   which receives federal funding annually- as confirmed by City officials.

6. One individual identified as taking part in setting the Market House ablaze is Charles
   Anthony PITTMAN, dob 10/10/1987. Local media covering the protest filmed PITTMAN
   standing on the second story balcony of the Market House holding a red, plastic gasoline
   container. PITTMAN wore a black t-shirt with a black and white photo of Martin Luther
   King, Jr. addressing a crowd on the National Mall. PITTMAN also wore white ear-buds
   which were dangling from one ear, down his chest, and partially tucked into the neckline of
   his t-shirt.




7. PITTMAN spread gasoline throughout the second story floor of the Market House. An
   employee, who responded to the Market House when the alarm went off, witnessed several
   individuals on the second floor busting out windows and breaking furniture. One of those
   individuals, who the employee later identified as PITTMAN, went to an open window to
   show the crowd below the red gasoline container in his hands. The employee watched as
   PITTMAN began to douse the floor of the second story with the gasoline. The employee' s
   attention turned to the other individuals. However, when the employee turned back to
   PITTMAN, he noticed PITTMAN standing next to a fire- right where the employee
   witnessed PITTMAN pour gasoline. PITTMAN then ran out of the Market House.

8. The next day, a crime analyst from the Fayetteville Police Department confirmed
   PITTMAN' s identity from the live television image and other social media outlets. The
   analyst provided a Facebook Live video from PITTMAN' s profile, Charles KingCappo
   Pittman, to ATF Agents. The video, recorded earlier in the day on May 30, 2020, showed




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   PITTMAN driving his vehicle in downtown Fayetteville. PITTMAN wore the same black
   t-shirt with the black and white photo of Martin Luther King, Jr., as well as the white ear-
   buds.




9. In the video, PITTMAN discussed the Market House. PITTMAN started with saying, "I' m
   out here doing the scopey scopey. I'm out here doing the scope. Scoping out the scene."
   As PITTMAN pulled up to the traffic circle with the Market House in the middle, he said,
   "It looks like it's there for the taking." As he passed a Fayetteville Police Department patrol
   car, PITTMAN said, "But they know it's coming. They are waiting." After discussing
   whether slaves were sold at the Market House, PITTMAN declared, "maybe it should come
   down." As PITTMAN pulled away from the Market House he told the Facebook Live
   crowd, "We' ll be back. We'll be back ... I'll be back y'all. 100."

10. In the video, the steering wheel of PITTMAN's car can be seen with a Mercedes Benz
    emblem in the middle. A North Carolina Department of Motor Vehicles records check
    confirmed a 2001 Mercedes Benz E320 is registered to PITTMAN.

11. The Market House sustained damage as a result of the fires on May 30, 2020. This damage
    includes charring and discoloration on the exterior stairway and supportive railing; charring



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      and discoloration to the wooden stairs and supportive railing; charring and discoloration to
      the wooden safety rail located on the exterior second floor balcony; discoloration and soot
      on the interior walls around the entrance doorway and wooden stairs that accessed the
      second floor ; and charring and mass loss to the wood flooring on the second floor.

   12. Based on the foregoing investigation, probable cause exists to believe that the subject,
       Charles Anthony PITTMAN, aiding and abetting others, did violate Federal law including
       Title 18, United State Code Sections 844(t)(I ), (t)(2), and 2. I respectfully request that a
       complaint warrant be issued for Charles Anthony PITTMAN .




                              Jeff Silve~
                              Special Agent
                              Bureau of Alcohol , Tobacco, Firearms and Explosives




On this  ~      day of June 2020, Jeff Silver appeared before me via reliable electronic means,
was placed under oath, and attested to the contents of this affidavit.




JA~
UNITED STATES MAGISTRATE JUDGE




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